      Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 1 of 9
Exhibit
Exhibit B
        B


a

Barrett
Barrett
    M82A
    MB82A anti-armor
    MS82A anti-armor sniper
                     sniper rifle
                            rifle




                                     1
      Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 2 of 9
Exhibit
Exhibit B
        B


a

Century
Century International
        International Arms
        International Arms
    WASR-10
    WASR-10 AK-type
            AK-type assault
                    assault rifle
                            rifle




                                     2
      Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 3 of 9
Exhibit
Exhibit B
        B


a

Century
Century International
        International Arms
        International Arms
    Mini-Draco AK-type assault
    Mini-Draco AK-type assault pistol with drum
                               pistol with drum magazine
                                                magazine




                                     3
     Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 4 of 9
Exhibit
Exhibit B
        B




Colt’s
Colt’s
Colt’s
  M4 AR-type
  M4 AR-type   assault
               assault rifle
     assault rifle     rifle




                                    4
     Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 5 of 9
Exhibit
Exhibit B
        B




Smith
Smith &
      & Wesson
        Wesson
  M&P15
  M&P15 assault
        assault rifle
                rifle




                                    5
      Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 6 of 9
Exhibit
Exhibit B
        B


a

Glock
Glock large-capacity
      large-capacity semiautomatic
                     semiautomatic pistols
                                   pistols
    Model
    Model 18 with extended
          18 with extended large-capacity
                           large-capacity magazine
                                          magazine




                                     6
      Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 7 of 9
Exhibit
Exhibit B
        B


a

Glock
Glock
    Pistol with 50-round
    Pistol with 50-round drum
                         drum magazine
                              magazine




                                     7
      Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 8 of 9
Exhibit
Exhibit B
        B


a

Glock
Glock
    Model
    Model 19
          19 with
             with 31-round
                  31-round large-capacity
                           large-capacity magazine
                                          magazine




                                     8
      Case 1:21-cv-11269-FDS Document 125-2 Filed 02/03/22 Page 9 of 9
Exhibit
Exhibit B
        B


a

Beretta
Beretta large-capacity
        large-capacity semiautomatic
                       semiautomatic pistol
                                     pistol
    Model
    Model 92
          92 with
             with 30-round
                  30-round large-capacity
                           large-capacity magazine
                                          magazine




                                     9
